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 1               IN THE UNITED STATES DISTRICT COURT

 2                     FOR THE DISTRICT OF ALASKA

 3
 4   RYAN   BEACH, APRIL BEACH,    )
     K.B.   (DOB 2003), R.B. JR.   )
 5   (DOB   2006), AND L.B.        )
     (DOB   2016),                 )
 6                                 )
             Plaintiffs,           )
 7                                 )
     v.                            )
 8                                 )
     UNITED STATES OF AMERICA,     )
 9   et al.,                       )
                                   )
10           Defendants.           )
     ______________________________)
11
     Case No. 4:20-cv-00034-HRH
12

13

14

15            VIDEOTAPED DEPOSITION OF WALTER GRAVES

16                       VIA ZOOM VIDEOCONFERENCE

17

18                                   VOLUME 1

19

20                    Pages 1 through 76, Inclusive

21               Taken:      Thursday, December 16, 2021

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1                             MR. CHOATE:        I understand.        I just
 2   want to get it on the record.

 3                           MR. BEAUSANG:         I just want to make
 4   sure it's on the record that, you know, we did

 5   object to those categories.

 6                           MR. CHOATE:         Right.     You did.      You
 7   did.     Okay.
 8   BY MR. CHOATE:

 9          Q.        And, Walt, when you -- what work have

10   you done in order to prepare for the examination
11   today?

12          A.        I reviewed the -- I did have a
13   discussion with our DOJ attorneys and my SAF/GCN
14   attorney, and I did review both my prior

15   declarations --
16          Q.        Okay.
17          A.        -- as well as went and reviewed all of

18   the various correspondence that has transpired back
19   and forth on this.
20          Q.        Okay.    Well, let's talk -- let's look

21   at the first topic, which is:               All actions taken by
22   Defendant United States of America to engage the

23   services of Corvias Group, LLC to perform the work

24   Ryan Beach was performing when he was electrocuted
25   on February 28, 2019.           Do you see that?

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1           A.       Yeah, I can see that.
 2          Q.       Okay.     Can you tell me -- let me make

 3   sure I understand this first.               The United States
 4   doesn't hire Corvias Air Force Living; am I

 5   correct?

 6          A.       Correct.
 7          Q.       The United States has an agreement with
 8   Continental Group, LLC; am I right?

 9          A.       Correct.       A lease of land along with

10   performance agreements on what they're going to do
11   with it.

12          Q.       So are there any direct contracts
13   between the United States of America, the Air
14   Force, and Corvias Air Force Living?

15          A.       I mean, Corvias Air Force Living is a
16   signature on an agreement that says they're going
17   to manage the program, and we're a signature on

18   that agreement too; but aside from that, no.
19          Q.       Okay.     We used the term Corvias Group,
20   LLC.    To your knowledge, is that different than

21   Corvias Air Force Living?
22          A.       To my knowledge, it would be a

23   different entity.

24          Q.       Okay.     Does the United States of
25   America have any direct contracts with Corvias

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1    Group, LLC?
 2         A.        Not that I'm aware of.              I'd have to

 3   really look and see who the signatures are on all
 4   of our agreements.          I don't -- I've never had to

 5   deal with Corvias Group, LLC.

 6         Q.        All right.        Are you aware of what work
 7   Ryan Beach was performing when he was electrocuted
 8   on February 28, 2019?

 9                           MR. WILSON:         So I'm going to

10   object to the form of the question.                  It assumes he
11   was electrocuted.         I'm just going to maintain that

12   objection so I don't have to do it every time.
13                           MR. CHOATE:         That's fine.
14   BY MR. CHOATE:

15         Q.        You can still answer.
16         A.        I'm not aware of the actual work that
17   Ryan Beach was working on.              I am aware that he was

18   in -- that he was working with regards to a
19   renovation project that was going on that was to
20   renovate 100 French Creek homes.                 But as to

21   actually what he was working on, I don't know.
22         Q.        In terms of that renovation project,

23   was it your understanding that Corvias Air Force

24   Living was managing that renovation for Continental
25   Group, LLC?

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